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                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO



FRANCISCO ALMEIDA-LEÓN, WANDA CRUZ
QUILES, La Sociedad Legal de Gananciales entre            CIVIL ACTION NO. 16-1394 (JAW)
ellos, y JUAN ALMEIDA LEON

Plaintiffs                                                RE STATE COURT ACTION CASE
                                                          NO. KAC2016-0027 (806)
     v.                                                   BREACH OF CONTRACT; DAMAGES;
                                                          LITIGIOUS CREDIT
WM Capital Management, Inc.; Juan del Pueblo,
Inc., John Doe, y Fulano de Tal, BM Capital de Tal
y Otros

Defendants

  LEAVE TO FILE REPLY IN SUPPORT OF REQUEST FOR SANCTIONS AND OTHER
REMEDIES AGAINST THE ALMEIDA PLAINTIFFS AND THEIR ATTORNEYS FILED AT
                   ECF NO. 515 – AND REQUESTING ORDER

TO THE HONORABLE COURT:

          COMES NOW, WM Capital Management, Inc. (“WM”) by and through its undersigned

counsels, and respectfully requests leave to file a reply in support of its request for sanctions

and making a request for an order against the Almeida Plaintiffs and their attorneys:

1.        On September 23, 2021, WM Capital filed its Request for Coercive and Punitive Sanctions

Against the Almeida Plaintiffs and their Attorneys for Violating the TRO. ECF No. 515.

2.        That same day, the Almeida Plaintiffs opposed the aforesaid motion through a Motion

Informing Compliance with Pre TRO Order Never Annulled (“Response”). ECF No. 517.

3.        Pursuant to Local Rule 7(c), a party may file a reply only with prior leave from the

Court, within seven (7) days of service of any response to a motion. The period to file the reply

to the Response expires today.
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4.     Accordingly, WM requests leave to file its Reply in Support of Request for Sanctions and

Other Remedies Against the Almeida Plaintiffs and their Attorneys filed at ECF No. 515 – and

Requesting Order, herein included as Exhibit 1.


WHEREFORE, WM respectfully requests that this Honorable Court grant it leave, to file its

Reply in Support of Request for Sanctions and Other Remedies Against the Almeida Plaintiffs and their

Attorneys filed at ECF No. 515 – and Requesting Order, herein included as Exhibit 1.


       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, on this 30th day of September, 2021.

       I HEREBY CERTIFY I electronically filed the foregoing with the Clerk of the Court

using the CM/ECF system, which will send notification of such filing to the parties of record.



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